Case 19-13079-mdc      Doc 59     Filed 05/19/20 Entered 05/19/20 10:47:10         Desc Main
                                  Document     Page 1 of 2



                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:                                              :
Thomas D. Sanitate                                  :
                             Debtor                 :      Chapter 13
                                                    :
Thomas D. Sanitate                                  :      Bankruptcy No. 19-13079 MDC
                             Movant                 :
          v.                                        :
                                                    :
Loandepot.Com, LLC                                  :
                             Respondent             :
                                                    :
                                                    :
                                                    :
                                                    :

 RESPONSE OF LOANDEPOT.COM, LLC TO MOTION TO RECONSIDER ORDER
                  MODIFYING AUTOMATIC STAY

       Respondent, Loandepot.Com, LLC, by and through its attorneys, Phelan Hallinan

Diamond & Jones, LLP, hereby responds to MOTION TO RECONSIDER ORDER

MODIFYING AUTOMATIC STAY and in support thereof, avers as follows:

       1. Admitted.

       2. Admitted.

       3. Admitted.

       4. Admitted.

       5. Admitted.

       6. Admittted.

       7. Denied. Respondent is without information or knowledge sufficient to form a belief

          as to the truth of the within averment.

       8. Debtor is due for the February 2020 through May 2020 payments in the amount of

          $1,459.25 for a total amount due of $5,836.80.
Case 19-13079-mdc       Doc 59   Filed 05/19/20 Entered 05/19/20 10:47:10          Desc Main
                                 Document     Page 2 of 2



       9. Denied. Responding party is without information needed to respond to this averment.

       WHEREFORE, Respondent, Loandepot.Com, LLC respectfully requests that this

Honorable Court deny MOTION TO RECONSIDER ORDER MODIFYING AUTOMATIC

STAY in its entirety.



                                               Respectfully submitted,

Date: May 19, 2020                             /s/ Jerome Blank, Esquire
                                               Jerome Blank, Esq., Id. No.49736
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